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                  UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN


YPSILANTI TOWNSHIP CITIZENS FOR
RESPONSIBLE GOVERNMENT, ballot Case No.                       5:22-cv-10975-DPH-
question committee,             JJCG

              Plaintiff,                        Hon.        Denise    Page       Hood
v.                                              (presiding)

JOCELYN BENSON, in her official capacity Hon. Jonathan J.C. Grey (referral)
as Secretary of State of Michigan,
LAWRENCE KESTENBAUM, in his
official capacity as Washtenaw County
Clerk, and HEATHER JARRELL ROE, in
her official capacity as Ypsilanti Township
Clerk.

              Defendants.


Hannah Stocker (P82847)
Attorneys for Plaintiffs
23332 Farmington Road #98
Farmington, MI 48336
(248) 252-6405 (phone)
hannah@stockerlawpllc.com

                  NOTICE OF DISMISSAL OF COMPLAINT

      Plaintiff, Ypsilanti Township Citizens for Responsible Government, pursuant

to Rule 41(a)(1) of the Federal Rules of Civil Procedure, hereby dismisses the causes

of action set forth in the complaint against all Defendants without prejudice.

      Neither Defendant Jocelyn Benson, Defendant Lawrence Kestenbaum, nor

Defendant Heather Jarrell Roe have filed an answer to the complaint or a motion for
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summary disposition as to Plaintiff’s claims. As such, a dismissal under Rule

41(a)(1) is appropriate.



                                   Respectfully Submitted,


Dated: May 13, 2022

                                        /s/ Hannah Stocker
                                   By: ______________________________
                                      Hannah Stocker (P82847)
                                      Attorneys for Plaintiff
                                      23332 Farmington Road, #98
                                      Farmington, MI 48336
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